          Case 1:21-cr-00725-MAU Document 109 Filed 04/25/23 Page 1 of 10




                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :
v.                                           : Case: 21-cr-725-1 (RDM)
                                             : MOTION TO SUPPRESS
JARED SAMUEL KASTNER                         :      EVIDENCE
                                             :
Defendant.                                   :


     DEFENDANT’S MOTION TO SUPPRESS ALL EVIDENCE GAINED
       FROM GEO-FENCING AND CELLULAR LOCATION DATA
          COMES NOW, the Defendant, Jared Kastner, by and through counsel, and

herewith respectfully moves the Court to suppress all evidence obtained

from geo-fencing and cell location data due to the case originating with a massive

violation of the Fourth Amendment. (All evidence collected following the FBI’s

warrants was fruit of the poisonous tress, and thus this case must be dismissed.)

     I.     INTRODUCTION
            The Fourth Amendment provides that “no Warrants shall issue, but upon

probable cause, supported by Oath or affirmation, and particularly describing the

place to be searched, and the persons or things to be seized” (emphasis added). Yet

the entire Complaint against Defendant originated with an unlawful blanket
       Case 1:21-cr-00725-MAU Document 109 Filed 04/25/23 Page 2 of 10




general warrant of cellphone location data, which plainly lacked requisite

specificity. Investigators then used the geo-fencing and cellular location data to

identify Kastner, rather than first having probable cause to identify Kastner and

probable cause to believe that Kastner had committed an offense, as required by

the Fourth Amendment.

      Agents then obtained a copy of Kastner’s driver’s license and compared that

photo to photos and videos from the Capitol on January 6, 2021. After comparing

the photo in the driver’s license to images from the Capitol, agents surmised that

the man in the photo form the Capitol was the same man in the driver’s license

photo. Based on this information obtained from google, agents were able to

question two witness, Kastner’s supervisor and someone who lived in North Beach

where Kastner stayed for one night. All of this evidence is fruit of the poisonous

tree. Accordingly, this case must be dismissed en toto.

      The Criminal Complaint in this case is based solely on the sworn affidavit of

Kyle G. Metz, Task Force Officer assigned to FBI Cincinnati’s Joint Terrorism

Task Force. In this affidavit, Officer Metz admitted on page 2 that:

      During the FBI’s investigation of the events of January 6, 2021, the FBI
      obtained information that a device associated with a Google email account
      jaredk********@gmail.com and a telephone number ending with -2605
      was present at the U.S. Capitol on January 6, 2021. Your affiant began
      investigating the subscriber and user of this email account and telephone
      number. Records from Google listed Jared Kastner as the subscriber of the
      Case 1:21-cr-00725-MAU Document 109 Filed 04/25/23 Page 3 of 10




      account and showed that a device associated with his email and Google
      accounts identified above was within the Capitol building from
      approximately 2:14 p.m. to 2:52 p.m. … Your affiant then used this
      information to physically identify Kastner. Agents obtained a copy of
      Kastner’s driver’s license photograph and compared this photograph to
      images and videos from the Capitol Attack on January 6, 2021. Your affiant
      identified Kastner, by comparing his driver’s license image to publicly
      available photographs from the events of January 6, 2021. Your affiant
      specifically identified Kastner….


      On page seven of the same affidavit Officer Metz also admits that via a

second warrant served on google they were able to scour through records and

pinpoint Kastner’s location from January 3 through January 7th.

      Agents further reviewed location information from the records Google
      provided pursuant to the second search warrant. On January 4, 2021, Kastner
      traveled from a location in Beavercreek Ohio, later determined to be
      Kastner’s home … Kastner arrived in Maryland at approximately 5:28 a.m.
      on January 5, 2021. … The Google records further show that approximately
      12:15 a.m. on January 7, 2021 Kastner once again stopped at the
      Wilmington, Ohio residence. …Thereafter, at about 11:40 a.m. on January 7,
      2021, Kastner traveled south to Blanchester, Ohio …


      In summary, from the admissions of the investigating officer, we know that:

            1. The FBI began its investigation into (later to be identified)

Kastner, without any probable cause to suspect Kastner of any crime;

            2. The FBI used two blanket general warrants to scavenge through
         Case 1:21-cr-00725-MAU Document 109 Filed 04/25/23 Page 4 of 10




location data records from google and other general metadata to then identify

Kastner as a potential suspect in a crime (although what crime, if any, the FBI did

not know);

               3. Even after identifying Kastner as a potential suspect via these

general warrants, the FBI still lacked probable cause to arrest him for any specific

crime;

               4. The FBI then questioned two witnesses to determine if there was

any probable cause to charge Kastner with a crime or crimes; and

               5. Only after questioning the two witnesses did the FBI believe they

had probable cause to charge Kastner with any crime (2 misdemeanors).

         The warrants in this case plainly lacked probable cause with any

particularity regarding the person and things to be searched or even the crimes to

be alleged. Indeed, it is plain that this case was initiated by one of the worst

general warrants in American history. Counsel suspects that there may be other

January 6 defendants who were similarly identified by these general warrants and

asks the Court to utilize its inherent powers to open a more wide-ranging inquiry

into the FBI’s use of these unconstitutional warrants.
         Case 1:21-cr-00725-MAU Document 109 Filed 04/25/23 Page 5 of 10




   Kastner requests an evidentiary hearing in which all agents responsible for

these warrants shall be made to appear, testify, and provide all supporting

affidavits and/or documents.

   II.      THE SEARCH IN THIS CASE IS PRECISELY THE TYPE OF
            SEARCH WHICH THE FOURTH AMENDMENT WAS
            ENACTED TO ABOLISH.
         The Fourth Amendment traces its roots to a revolt against general warrants

issued by the government in England in the 1760s. Royal ministers (the equivalent

of today’s FBI) were in the practice of issuing warrants commanding investigators

to search through London and find the identity of individuals who authored

antigovernment pamphlets. Justice Potter Stewart, in Stanford v. Texas, 379 U.S.

476, 482 (1965), recounted this history:

         It was in the context of the latter kinds of general warrants that the battle for
         individual liberty and privacy was finally won - in the landmark cases of
         Wilkes v. Wood, 19 How. St. Tr. 1153 (1763). and Entick v. Carrington, 19
         How. St. Tr. 1029 (1765). The Wilkes case arose out of the Crown's attempt
         to stifle a publication called The North Briton, anonymously published by
         John Wilkes, then a member of Parliament - particularly issue No. 45 of that
         journal. Lord Halifax, as Secretary of State, issued a warrant ordering four of
         the King's messengers "to make strict and diligent search for the authors,
         printers, and publishers of a seditious and treasonable paper, entitled, The
         North Briton, No. 45, . . . and them, or any of them, having found, to
         apprehend and seize, together with their papers." "Armed with their roving
         commission, they set forth in quest of unknown offenders; and unable to
         take evidence, listened to rumors, idle tales, and curious guesses. They held
         in their hands the liberty of every man whom they were pleased to suspect."
Stanford, 379 U.S. at 482.
        Case 1:21-cr-00725-MAU Document 109 Filed 04/25/23 Page 6 of 10




       British investigators scoured through the streets of London, arresting and

interrogating 40 printers until one printer confessed that the author of the notorious

pamphlet was a member of Parliament: John Wilkes. The general warrant

outraged the people of Britain, as well as America’s Founding Fathers.1

       In an opinion which this Court has characterized as a wellspring of the rights
       now protected by the Fourth Amendment, Lord Camden declared the
       warrant to be unlawful. “This power,” he said, “so assumed by the secretary
       of state is an execution upon all the party's papers, in the first instance. His
       house is rifled; his most valuable secrets are taken out of his possession,
       before the paper for which he is charged is found to be criminal by any
       competent jurisdiction, and before he is convicted either of writing,
       publishing, or being concerned in the paper.” Entick v. Carrington.
       Thereafter, the House of Commons passed two resolutions condemning
       general warrants . . . .
Id. at 484.
       Stanford v. Texas involved a search warrant authorizing seizure of “books,

records, pamphlets, cards, receipts, lists, memoranda, pictures, recordings and

other written instruments concerning the Communist Party of Texas, and the

operations of the Communist Party in Texas.” Some 2000 items were seized, most

relating to petitioner’s (Stanford's) mail order business. The Supreme Court held

that the warrant was a general warrant forbidden by U.S. Const. amend. IV. The



1
 Note that the American Founding Fathers came to revere and idolize John Wilkes and Lord Camden (the
British judge who invalidated the search warrants) so much that they named many American places,
streets, cities, towns, and counties after them. Camden, New Jersey and Camden Yards (where the
Baltimore Orioles play baseball) (on Camden Street), for example, are named for Lord Camden. Wilkes
County, Georgia, Wilkes County, North Carolina, and Wilkes-Barre, Pennsylvania are named (in whole
or in part) for John Wilkes.
       Case 1:21-cr-00725-MAU Document 109 Filed 04/25/23 Page 7 of 10




Court held that the indiscriminate sweep of the language of the warrant was

constitutionally intolerable. “The world has greatly changed,” wrote Justice

Stewart, “and the voice of nonconformity now sometimes speaks a tongue which

Lord Camden might find hard to understand. But the Fourth and Fourteenth

Amendments guarantee to John Stanford that no official of the State shall ransack

his home and seize his books and papers under the unbridled authority of a general

warrant.” Id. at 486.

      Here, in the case of defendant Kastner, the warrant(s) were even more

general and disconnected from particularity. The government didn’t even know

who they were searching for or even what specific crimes they were investigating.

In application, there is little difference between a general warrant allowing “a

search warrant for records in the possession of Google” of location data of all cell

phones in the area of the Capitol on January 6 to identify suspects who breached

the Capitol, and the general warrant in 1962 allowing investigators to search every

printshop in London until they identified the printer who printed The North Britain

45.

      The warrants here were general warrants by definition. Because the two

warrants were general warrants and in violation of the Fourth Amendment, all

evidence resulting therefrom must be suppressed and as a result excluded.
          Case 1:21-cr-00725-MAU Document 109 Filed 04/25/23 Page 8 of 10




   III.     ALL EVIDENCE AGAINST KASTNER COLLECTED AFTER
            THE TWO GENERAL WARRANTS IS FRUIT OF THE
            POISONOUS TREE
   Evidence derived from an illegal search and seizure must be suppressed unless

the government can show intervening circumstances sufficient to break the causal

connection between the Fourth Amendment violation and the resulting evidence.

See Brown v. Illinois, 422 U.S. 590, 602-03 (1975). Here there is no break in the

connection whatsoever, as the FBI’s identification and targeting of Kastner led

directly to all other evidence. The exclusionary rule extends to any fruits of a

Fourth Amendment violation — “whether such evidence be tangible, physical

material actually seized in an illegal search, items observed, or words overheard in

the course of the unlawful activity, or confessions or statements of the accused

obtained during an illegal arrest and detention.” See United States v. Crews, 445

U.S. 463, 470 (1980); see also United States v. Jones, 374 F. Supp. 2d 143, 153

(D.D.C. 2005); United States v. Wiggins, 211 F. Supp. 2d 81, 87-90 (D.D.C. 2002);

United States v. Henry, 797 F. Supp. 1, 5 (D.D.C. 1992).

   Defendant Kastner would not have been charged by FBI but for the illegal

general warrants executed upon Google. The two witness statements and the

driver’s license photo and Kastner’s location are fruit of the poisonous tree.
         Case 1:21-cr-00725-MAU Document 109 Filed 04/25/23 Page 9 of 10




   IV.     CONCLUSION
           For all of the foregoing reasons, the evidence in this case must be
suppressed; and the case against Kastner must be dismissed.




Dated: April 25, 2023


                                                                 /s/ John M. Pierce
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      Case 1:21-cr-00725-MAU Document 109 Filed 04/25/23 Page 10 of 10




                         CERTIFICATE OF SERVICE


I hereby certify that on April 25, 2023, a true and accurate copy of the
forgoing was electronically filed and served through the ECF system of the U.S.
District Court for the District of Columbia.
/s/ John M. Pierce
John M. Pierce
